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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


  CRYSTALLEX INTERNATIONAL CORP.,                       )
                                                        )
          Plaintiff,                                    )
                                                        )
          v.                                            ) Case No. 1:17-mc-00151-LPS
                                                        )
  BOLIVARIAN REPUBLIC OF VENEZUELA,                     )
                                                        )
          Defendant.                                    )
                                                        )
  _______________________________________               )


            VENEZUELA PARTIES’ SUPPLEMENTAL RESPONSE TO
    THE SPECIAL MASTER’S REVISED PROPOSED SALE PROCEDURES ORDER

         The Bolivarian Republic of Venezuela, Petróleos de Venezuela, S.A., PDV Holding, Inc.,

 and CITGO Petroleum Corporation (together, the “Venezuela Parties”) respectfully submit this

 supplemental response to the Special Master’s Revised Proposed Sale Procedures Order, D.I.

 356-1. The Venezuela Parties have delayed this filing because the Special Master has, for the

 past several weeks, repeatedly advised them that he intended to submit a revised proposed Ever-

 core retention agreement before the November 8, 2021 hearing, but to date none has been sub-

 mitted. Given that the hearing date is fast approaching, the Venezuela Parties submit this re-

 sponse now rather than waiting any longer for the filing of the revised proposed Evercore agree-

 ment.

         As explained below, the Special Master’s revised proposed order suffers from almost all

 of the same flaws as his original proposal. It does not solve Evercore’s conflict of interest. In ad-

 dition, it has been intended since its first draft to structure—and continues to structure—the sale

 process in a way that makes it likely that 100% of the PDVH shares will be sold, rather than to

 sell the fewest shares necessary to satisfy the judgment(s). And these flaws, serious as they are,


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 would be increased exponentially were the Court to adopt Crystallex’s proposal that the sale pro-

 cess begin in the face of OFAC’s unequivocal denial of Crystallex’s requested OFAC license.

 Accordingly, the Venezuela Parties respectfully submit that this Court should reject the Special

 Master’s Revised Proposed Sale Procedures Order and direct him to conduct a new process, con-

 sistent with the steps described in the Venezuela Parties’ Objections of August 25, 2021, to de-

 termine proposed procedures.

     I.       The Revised Proposed Sale Procedures Order Does Not Cure the Special Mas-
              ter’s Conflicted Process and Resulting Tainted Work Product.

          The minor revisions proposed by the Special Master do not attempt to (and cannot) cure

 the fundamental problem that the process he used to develop the proposed procedures, and his

 resulting work product, are tainted by Evercore’s blatant conflict of interest and admitted bias

 towards selling 100% of the PDVH stock. See D.I. 354 at 1, 3–4, 9, 17–18; D.I. 348-1 ¶ 21; see

 also In re Kensington Int’l, Ltd., 368 F.3d 289, 308 (3d Cir. 2004) (explaining that when advisors

 to a judicial officer are conflicted, “there is an almost irrebuttable presumption” that the judicial

 officer is conflicted); In re Kempthorne, 449 F.3d 1265, 1270 (D.C. Cir. 2006) (A special mas-

 ter’s work product should be suppressed where his advisor “st[ands] to gain financially from” the

 special master’s findings, because such a conflict “color[s] the way in which he approache[s] his

 task, and ultimately his . . . recommendations to the district court.”); see also Fed. R. Civ. P.

 53(a)(2) (applying judicial impartiality requirements of 28 U.S.C. § 455 to special masters). As

 explained in greater detail in the Venezuela Parties’ Objections, D.I. 354 at 17–18, Evercore ad-

 vised the Special Master’s design of a proposed sale procedures order while anticipating that it

 would receive a contingency fee based on the total amount sold.1 That conflict is particularly


     1
      This contingency fee was initially proposed by the Special Master on June 1, 2021, at the outset of Evercore’s
 engagement, after the Special Master agreed to such a fee in negotiations with Evercore. See Exs. A & B to Decl. of
 Daniel D. Birk (“Birk Decl.”). As soon as it was proposed, the Venezuela Parties objected to the Special Master that

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 acute given that Evercore’s fee will also include 0.35% of all of the debt of PDVH and its direct

 and indirect subsidiaries if 100% of the shares are sold—a powerful incentive for Evercore to

 structure and implement a process designed to achieve that result—even for a fire sale price—

 rather than a sale of a minority stake of PDVH. D.I. 347 at 62. Thus, if a buyer were to pay one

 dollar for 100% of the shares, for example, and if PDVH and its subsidiaries had approximately

 $8 billion in debt, then Evercore would still receive 0.35% of the approximately $8 billion, or ap-

 proximately $24.5 million. D.I. 366 at 10. By contrast, if a buyer were to pay $1 billion for 40%

 of the shares—and thus satisfy Crystallex’s judgment—Evercore would net “only” $3.5 million

 (0.35% of $1 billion), as PDVH’s debt would not be included as part of the “aggregate consider-

 ation.” Moreover, the Hiltz Declaration makes clear that Evercore’s intent as the financial advi-

 sor to the Special Master, and the entity that will be organizing and conducting the proposed sale

 process, is to sell 100% of the shares. D.I. 348-1 ¶ 21.

          The Special Master attempts to defend his process, but 28 U.S.C. § 455 and In re

 Kempthorne make clear that there is no curing a fundamental conflict of interest of the sort on

 display here. The fact that advisors to bankruptcy trustees may receive contingency fees, see 11

 U.S.C. § 328(a), is inapposite; the Special Master’s advisors are subject to Rule 53 and Section

 455, not the bankruptcy code, and the standard for impartiality in the bankruptcy code is materi-

 ally lower than Section 455. See 11 U.S.C. § 327(a) (defining “disinterested person” as one that

 does “not hold or represent an interest adverse to the estate,” rather than the broader prohibition

 of Section 455(b)(4) against one with “any other interest that could be substantially affected by


 the proposed contingency fee gave Evercore an impermissible economic incentive to recommend the sale of 100%
 of the shares of PDVH. See Birk Decl. ¶ 5. Although the Special Master ultimately bifurcated Evercore’s engage-
 ment, and the executed June engagement letter provided for Evercore to receive only a fixed monthly fee for the first
 portion of its work, see id. Exs. C, D, this was clearly just a matter of form. Evercore anticipated receiving—and in
 fact did receive—an agreement promising it a contingency fee while it was advising the Special Master in designing
 proposed sale procedures. See id. Exs. E (July 23, 2021 email transmitting draft proposed order to Sale Process Par-
 ties); id. Ex. F (July 26, 2021 email transmitting proposed Evercore engagement letter, in which file is dated “7.20”).

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 the outcome of the proceeding”); In re Marvel Ent. Grp., 140 F.3d 463, 476 (3d Cir. 1998) (lim-

 iting per se disqualification to “actual conflict of interest,” as opposed to the broader categories

 of “potential conflict of interest” or “appearance of conflict,” both of which are disqualifying

 events under Section 455). In bankruptcy proceedings, unlike here, the parties’ interests are gen-

 erally aligned because the goal is to raise the maximum amount of money to satisfy creditors ra-

 ther than sell only as much of the asset necessary to satisfy a judgment. D.I. 354 at 18 n.9.

          The fact that investment bankers often receive contingency fees, see D.I. 348 at 9, 13–14

 (¶¶ 19, 27); D.I. 356 ¶ 35 & Ex. B, is also irrelevant; there is no “industry standard” exception to

 Section 455 conflicts. And the fact that the Venezuela Parties have had an opportunity to re-

 view—and object—to the proposed Evercore retention agreements, see D.I. 348 at 13–14 (¶ 27),

 is irrelevant. The mere fact that a party may object to tainted recommendations stemming from a

 conflicted advisor does nothing to obviate the structural problem of having a conflicted advisor

 in the first place. Cf. In re Brooks, 383 F.3d 1036, 1045–46 (D.C. Cir. 2004) (explaining that

 “[t]he district court’s proposal in this case to review the Special Master’s findings de novo does

 not solve the problem of ‘unchecked and uncheckable’ partiality,” just as a “judge’s undertaking

 to review [a compromised] clerk’s findings de novo would not be assurance against the biases of

 the clerk affecting the judgment of the court”).

    II.       The Proposed Procedures Are Predicated on a Sale of 100% of PDVH in Viola-
              tion of 8 Del. C. § 324.

          Moreover, the effect of the conflict of interest is readily apparent, as it resulted in the pro-

 posal of procedures clearly designed to conduct a bankruptcy-style liquidation of 100% of the

 shares of PDVH—a result that also would violate both Delaware law and this Court’s orders.

 D.I. 234 at 36; 8 Del. C. § 324(a). For instance, Evercore advised the Special Master, without

 even conducting an initial (much less comprehensive) valuation, that “the approach most likely


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 to result in a value maximizing Sale Transaction … is to make the most enticing offer availa-

 ble”—in its view, “100% of the PDVH Shares.” D.I. 348-1 ¶ 21. The Revised Proposed Sale

 Procedures Order still is aimed at achieving such a result. It provides the Special Master with

 discretion to select any Stalking Horse Bid he likes and to require that any qualified overbid ex-

 ceed the Stalking Horse Bid by 5% of the “implied value” of the Stalking Horse Bid. Id. ¶¶ 18,

 19. This could result in the rejection of bids for fewer shares than the Stalking Horse Bid that are

 sufficient to satisfy the judgment(s) but that have a lower “implied value” than the Stalking

 Horse Bid.

        Nor did Evercore advise the Special Master to discuss potentially agreeable minority

 rights that PDVSA could offer to “entic[e]” bids for a minority stake, such as rights to board

 seats, enhanced voting powers, and dividends rights, and indeed advised the Special Master that

 a sale of a minority stake would be impracticable. See D.I. 348-1 ¶¶ 23–24. Although the Special

 Master now proposes to ask bidders, once the bidding process has already commenced, to iden-

 tify any minority-shareholder rights they might desire, see D.I. 356 at 13–14 (¶ 22), that is a far

 cry from working with the Venezuela Parties to make a compelling offer of a minority stake in

 PDVH before the bidding process begins so that putative minority-stake bidders will be more

 likely to participate. See D.I. 354-1 at 8–9 (¶ 14); cf. D.I. 234 at 236 n.16 (recognizing that

 “‘complex negotiations of minority rights in any stock that is sold’” would be a “necessity”

 here). Moreover, although the Special Master’s current proposal contemplates that he and his ad-

 visors will market the sale to potential buyers if OFAC authorization is eventually obtained, see,

 e.g., D.I. 356-1 at 4–5 (¶ D), it does not require him to proactively seek out buyers who would

 actually be interested in becoming minority stakeholders in PDVH, such as sovereign wealth

 funds, large family offices, or other major private investors. See D.I. 354-1at 5, 8–9, 22.



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         Evercore’s conflict and bias are particularly problematic because its focus on a sale of

 100% of the shares precluded the Special Master from considering, as he should have, feasible

 alternatives—as contemplated by this Court’s order. D.I. 277 at 3 (directing Special Master to

 devise plan for sale or “other transaction”). As the Venezuela Parties explained, there are many

 alternatives to the bankruptcy-style auction proposed by the Special Master that can satisfy the

 judgment(s) without selling 100% of the PDVH shares. See D.I. 354-1 at 6–9. Nevertheless, the

 Special Master and Evercore rejected anything but a bankruptcy-style process that was designed

 to sell 100% of the shares. See D.I. 348-1 ¶¶ 19–21. The Special Master claims in his Response

 Brief that he considered but rejected alternatives to an auction because they would be unlikely to

 satisfy the judgment(s). See D.I. 356 at 16–17. But that determination cannot reasonably have

 been made without first conducting a valuation of the PDVH Shares or CITGO to determine

 what bidders would be likely to offer, which the Special Master and Evercore both admitted they

 did not do. D.I. 348 ¶ 70; D.I. 348-1 ¶ 20; see D.I. 354-1 at 6. Instead, it appears that the Special

 Master simply presumed (or was advised by his conflicted financial advisor) that a bankruptcy-

 style auction would be the best course.2

         The only way to cure Evercore’s conflict of interest is to reject the Special Master’s rec-

 ommendation and instruct him to conduct a new process after retaining an unconflicted financial

 advisor. See In re Kempthorne, 449 F.3d at 1271–72 (suppressing a special master’s tainted re-

 ports); D.I. 354 at 4 (explaining that Evercore’s conflict of interest “predictably led to a tainted

 recommendation”). That process should include retaining an unconflicted advisor to assist him in

 conducting a valuation, considering alternative transactions that could satisfy the judgment(s),



     2
       This is perhaps not surprising given that the Special Master’s principal advisors are a bankruptcy lawyer and
 an investment banker who specialize in bankruptcies. See D.I. 348 ¶ 14; D.I. 348-1 at 20 (listing notable bankruptcy
 transactions of Evercore’s Senior Managing Director).

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 and discussing with PDVSA potentially agreeable minority shareholder rights that could be of-

 fered to attract bids. Id. at 9 (asking the Court to “cure the deficiencies in the current process” by

 requiring the Special Master to conduct a proper process); id. at 18 (“[A]t the very least, the

 Court must disallow the [Evercore] retention agreement and . . . direct the Special Master to con-

 duct a valuation and consider alternative transactions and bidding procedures with an uncon-

 flicted advisor.”).3 Although the Special Master has suggested that Section 324 would not permit

 these alternatives, D.I. 356 at 15 n.12, that overlooks the provision of the Court’s May 27, 2021

 order, which the Special Master proposed, and to which all Sale Process Parties agreed, that ex-

 pressly allows the Special Master to “devise such other transaction as would satisfy such out-

 standing judgment(s).” D.I. 277 ¶ 2. Moreover, Delaware law allows a person carrying out a ju-

 dicial sale the broad discretion to delay or even reject a sale where, as here, forging ahead with

 the transaction would lead to a grossly inadequate price. See D.I. 355 at 18–21. Given that dis-

 cretion, the Special Master could easily have considered these superior alternatives before pro-

 posing a bankruptcy-style auction. At a minimum, the Special Master unquestionably has the au-

 thority (and duty) to conduct a valuation, consider reasonable transaction structures, and, if nec-

 essary, conduct a sale of the fewest number of shares necessary to satisfy the judgment(s), in-

 cluding by ensuring minority shareholder protections and soliciting plausible minority stake-

 holder bidders.



     3
       Contrary to the Special Master’s assertion, the examples of potential transaction structures described by the
 Venezuela Parties’ expert Randall Weisenburger, see D.I. 354-1 ¶ 12, are not “substantially more detailed,” D.I. 356
 at 15 n.12, than what the Venezuela Parties previously provided to the Special Master on August 2, 2021. In that
 submission, the Venezuela Parties identified alternative transactions that could be considered, including “an initial
 public offering, private placements of equity securities or other capital markets transactions that could generate pro-
 ceeds sufficient to satisfy the claims of Crystallex and the other judgment creditors, and a reverse auction, in which
 bidders offer to buy the fewest percentage of shares for the judgment amount, while working with the Venezuela
 Parties to offer a package of rights in return for an acceptable minority bid.” Birk Decl. Ex. G. Moreover, it was the
 Special Master’s task pursuant to this Court’s order of May 27, 2021, see D.I. 277 ¶ 2, to consider and develop
 transaction procedures, not the Venezuela Parties’.

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    III.      The Sale Process Should Not Begin Without Clear OFAC Authorization.

           The Special Master’s Response Brief reflects substantial agreement with the Venezuela

 Parties and ConocoPhillips that the proposed sale procedures should not be implemented until

 OFAC issues a specific license, changes its applicable guidance, or provides other clear authori-

 zation for a sale. See D.I. 356 ¶ 5; see also D.I. 354 at 13–16 (Venezuela Parties’ Objections);

 D.I. 355 at 8–18 (Venezuela Parties’ Resp. Br.); D.I. 366 at 2–4 (ConocoPhillips’s Objections);

 D.I. 367 at 2–3 (ConocoPhillips’s Resp. Br.). Now that OFAC has expressly denied Crystallex’s

 application for a specific license authorizing “all activities necessary and ordinarily incident to

 organizing and conducting a judicial sale” of the PDVH shares, D.I. 346-1 at 1, that consensus

 should be unquestionable.

           Moreover, it now should be unquestionable that the sale process should not launch except

 upon order of the Court after receipt of affirmative, written authorization from OFAC, not

 merely when the Special Master unilaterally decides that he is “satisfied” with OFAC’s assur-

 ances, see D.I. 356-1 ¶ 4, a provision inconsistent with the Special Master’s own acknowledge-

 ments. OFAC has already made clear through its regulations, FAQs, and denial of Crystallex’s

 license application that any sale process would be unauthorized and in violation of applicable

 sanctions. See D.I. 352 at 1–3; D.I. 355 at 9–15; D.I. 354 at 13–16. Only unequivocal authoriza-

 tion of a sale from OFAC itself will provide potential bidders with enough certainty to ensure

 that any auction of the PDVH shares is a meaningful process, and therefore only such authoriza-

 tion will elicit full-value bids. See D.I. 352 at 4; D.I. 355 at 16–18; D.I. 354 at 14.

           Crystallex alone urges this Court to launch the sale process in the face of OFAC’s denial,

 presumably so that its $300 million credit bid for 100% of the PDVH shares will be the sole (and

 hence, winning) offer. See D.I. 346. For the reasons set forth in the Venezuela Parties’ Septem-

 ber 20, 2021 letter and their earlier briefs, this Court should reject that radical request and hew to

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 the consensus of the Special Master and the other parties. See D.I. 352; see also D.I. 355 at 8–15;

 D.I. 354 at 13–16.

                                          CONCLUSION

        For the foregoing reasons, the Venezuela Parties respectfully request that the Court reject

 the Special Master’s Revised Proposed Sale Procedures Order and direct the Special Master to

 conduct a new process, consistent with the steps described in the Venezuela Parties’ Objections

 of August 25, 2021, to determine proposed procedures that would maximize value and result in

 the sale of as few shares of PDVH as necessary to satisfy the judgment(s), including by proac-

 tively targeting potential buyers who would actually be interested in becoming minority stake-

 holders in PDVH.



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